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            Exhibit 5
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                                  Fuentes

 1                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF CALIFORNIA
 2                      SAN FRANCISCO DIVISION
 3                    Case No. 3:19-cv-07270-WHA
 4   ____________________________________________________
 5   URSULA FREITAS, individual, on behalf of
     herself and others similarly situated,
 6
                 Plaintiffs,
 7
           vs.
 8
     CRICKET WIRELESS, LLC,
 9
                 Defendant.
10   ____________________________________________________
11
12
13
14
15                REMOTE VIDEOTAPED DEPOSITION OF
                              LUIS FUENTES
16
17                          Atlanta, Georgia
18                    Wednesday, February 9, 2022
19
20
21
22
23
24
25    Court Reporter:     Michelle M. Boudreaux-Phillips, RPR



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 1         A     No.

 2         Q     Is that -- is that a phrase at Cricket that

 3   you use in emails and documents?

 4         A     It's a word I use.

 5         Q     Okay.   I'll represent to you that there's

 6   more than 700,000 documents produced in this case, and

 7   that phrase "account owners," I could never -- I could

 8   never find any examples where anyone in -- who was

 9   dealing with group text messages ever used that phrase

10   when they were making, you know, MDN request forms or

11   creating lead lists or in any way dealing with

12   Telescope or Pulse or the other platforms that Cricket

13   used to send text messages.        And so I'm just interested

14   in understanding, Mr. Fuentes, you know, how you came

15   to choose the phrase "account owners."

16         A     We use a lot of different words and acronyms

17   in this industry.      Account owners is something that

18   we've talked about and used.

19         Q     Is that a -- is that a phrase that you've

20   used in the ordinary course of your business at

21   Cricket?

22         A     I don't remember.      I can't say specifically

23   this is what I've used.       I've used many terms.

24         Q     Okay.   Mr. Fuentes, have you ever personally

25   requested a text message campaign to a group of Cricket




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 1   customers where you were trying to send it to all

 2   affected account owners?

 3         A     No.    I have never personally requested.

 4         Q     Okay.    Are you, Mr. Fuentes, aware of any

 5   time in the history of Cricket where anyone has ever

 6   requested a text message campaign involving service

 7   messages that would be sent to all affected account

 8   owners?

 9         A     Can you -- can you repeat that?

10         Q     Are you, Mr. Fuentes, aware of any time in

11   the history of Cricket where anyone has ever requested

12   a text message campaign involving service -- a service

13   message that would be sent to all affected account

14   owners?

15         A     Yes.

16         Q     Okay.    And when was -- what is the date of

17   that campaign?

18         A     I don't remember.      There -- there's been

19   many.     It's been over six years since I was doing CLM,

20   and my role was very limited.

21         Q     Can you -- can you identify me -- identify

22   for me the year when any of those text message

23   campaigns occurred?

24         A     That I was aware of or might have heard of?

25         Q     Yes.




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 1   them.     For example, Campaign 22943, that message was

 2   sent to all customers that were affected by the CDMA to

 3   GSM migration and had a Galaxy phone.

 4         Q      Okay.

 5         A      So if you had a Galaxy phone, you were

 6   affected, and that message was sent to those customers.

 7         Q      And do you know, Mr. Fuentes, if a particular

 8   customer had two or three lines of service, would the

 9   text message be sent to each mobile device number that

10   would be affected by, you know, the service message?

11         A      I don't know.

12         Q      Are you aware, Mr. Fuentes, of any procedures

13   at Cricket where the company was able to isolate only

14   one particular line and then affiliate that with

15   account owner and then only send text messages to that

16   particular mobile device number?

17         A      I don't know.

18         Q      Did you, Mr. Fuentes, ever request a text

19   campaign and request that it only be sent to one

20   particular line of service even if the account holder

21   had multiple lines of service?

22         A      Can you clarify what you mean by my

23   requesting or me requesting?

24         Q      Well, Mr. Fuentes, if you look at Exhibit

25   128, you see "Campaign Requester," you're listed as the




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 1   wasn't part of my role during the time.          And in 2015,

 2   it wasn't anything that I had access to.

 3         Q     And Cricket did not keep a contemporaneous

 4   log of text message campaigns where you could go and

 5   see from that log how many text messages were sent on

 6   May 22nd of 2014, correct?       That's why you had to go

 7   into Telescope and pull that data, right?

 8         A     Can you clarify what you mean by Cricket

 9   keeping record?

10         Q     Telescope is a platform that's -- that was

11   housed by a vendor, right?       Telescope is a company,

12   true?

13         A     Telescope is a vendor we used, yes.

14         Q     Okay.    Telescope, then, had the platform, and

15   then Campaign Manager was a tool that allowed you to go

16   into that Telescope platform and extract data to a

17   spreadsheet, right?

18         A     Yes.    The platform was Campaign Manager.

19         Q     Okay.    And so -- and then Campaign Manager,

20   though, was a Telescope platform, right?

21         A     Yes.

22         Q     Okay.    And so -- so in 2015, you -- when you

23   were looking for records about text message campaigns,

24   you went to the vendor and you extracted data from

25   Telescope's records, right?




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 1         A     I was asked by someone to -- if those two

 2   numbers received certain campaign messages.

 3         Q     Okay.   And, sir, is that why you created this

 4   spreadsheet, to investigate whether or not those two

 5   cell phone numbers had been sent particular text

 6   messages as part of Cricket campaigns?

 7         A     I believe that this was created and that

 8   request was made specifically for that purpose.

 9         Q     Okay.   And did someone make you aware that in

10   2015, two Cricket customers, Flor Barraza and Nikole

11   Henson, had filed a lawsuit against Cricket?

12         A     I was -- no, I don't know -- I did not know

13   anything about lawsuits.       I was just asked if certain

14   numbers had received certain messages.

15         Q     Okay.   Who created the file name of this

16   spreadsheet?

17         A     The -- I believe that would have been -- it

18   could have been me or it could have been Shayna.               I

19   don't know.

20         Q     Okay.

21         A     I can't recall, but it -- it could have been

22   me or it could have been Shayna.         I don't know.

23         Q     Okay.   Do you recall why this particular file

24   was named "Kate File Scrubbed"?

25         A     Kate was the person who requested it, and so




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 1   it was to identify that that was for a specific ask.

 2         Q     And was the Kate that requested that

 3   Cricket's in-house counsel, Kate Hwang?

 4         A     If I recall correctly, yes, Kate asked me if

 5   these numbers --

 6               MS. ARMBRUST:     [Indiscernible] direct

 7         Mr. Fuentes not to speak to the substance of

 8         your communications, but you can answer the

 9         question about who Kate is.        And if I didn't

10         say, objection as to privilege.

11         Q     (By Mr. Hudson)     And so, Mr. Fuentes, just so

12   the record is clear, yes, Cricket's in-house counsel,

13   Kate Hwang, is the one who made this request to you?

14         A     Kate Hwang asked me --

15               MS. ARMBRUST:     Mr. Fuentes, I'm just

16         going to object again as to privilege to the

17         extent that I don't think Mr. Hudson is

18         asking for the content of any communications,

19         but he's asking a yes-or-no question as to

20         whether or not you had a communication with

21         Ms. Hwang.

22               THE WITNESS:     Yes, I had communications

23         with Kate Hwang.

24               MR. HUDSON:    Okay.

25         Q     (By Mr. Hudson)     And so then, Mr. Fuentes,




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 1   are you the one who, in this spreadsheet on the far

 2   left, then wrote the "no" under -- in those -- in those

 3   various rows next to those campaigns in Columns A and

 4   B?

 5         A     No, that was not me.

 6         Q     Okay.   Do you know who wrote the "no" in

 7   those columns?

 8         A     I believe it was Shayna Sternberg.         She was

 9   who I requested the data from.

10         Q     Okay.   And in Campaign Manager, sir, they --

11   there would -- you wouldn't have information like the

12   no's and the TBDs and the specific cell phone numbers,

13   correct?    Those would be generated by somebody who's

14   using that spreadsheet and working with it?

15         A     Campaign Manager only provided you a summary

16   of the campaign ID, campaign name that were sent, the

17   size of the list that was uploaded with the -- to send

18   to, what the -- what the actual text message said, but

19   there was no information on individual customers or

20   phone numbers or -- no.

21         Q     Mr. Fuentes, do you know what changes

22   Ms. Sternberg made to this spreadsheet before she sent

23   it to you?

24         A     I don't know.

25         Q     Would you be able to tell us what information




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 1    existed within Telescope in 2015 and what information

 2    Ms. Sternberg added after the spreadsheet was

 3    generated?

 4          A    I don't know.     It's been a very long time

 5    since I've had -- I saw the -- you know, the

 6    spreadsheets and what was there and what was added.             I

 7    would only be guessing.

 8          Q    But given your testimony that Ms. Sternberg

 9    added information on the spreadsheet about, you know,

10    the specific cell phones and whether or not the

11    campaigns were sent to those cell phones, would you

12    agree with me that this particular spreadsheet is not a

13    true and correct copy of Cricket's records of the

14    content and number of recipients of certain text

15    message campaigns that relate to arbitration?

16          A    This spreadsheet is not the spreadsheet

17    that -- or in the format, I guess, that was downloaded

18    from the campaign tool manager.

19          Q    Okay.    And you would agree with me, then,

20    sir, that this spreadsheet is not a true and correct of

21    Cricket's records of the content and number of

22    recipients of certain text message campaigns that

23    relate to arbitration, right?

24          A    Can you rephrase that?

25          Q    You would agree with me, sir, that this --




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 1    this record that we have here is not a Cricket record

 2    at all, it was a record that was generated from

 3    Telescope, right?

 4          A    This would have -- the majority of this

 5    information was on whatever sheet was -- workbook was

 6    downloaded from the campaign tool manager.

 7          Q    Right.    And then once it was downloaded from

 8    the campaign tool manager, then Ms. Sternberg or you or

 9    others then made modifications to the spreadsheet,

10    right?

11          A    Yes.

12          Q    Okay.    And so, therefore, this spreadsheet,

13    sir, is not a true and correct copy of Cricket's

14    records of the content and number of recipients of

15    certain text message campaigns that relate to

16    arbitration, right?

17          A    It has the -- it has the information that was

18    downloaded from the campaign tool manager.

19          Q    What information, Mr. Fuentes, was downloaded

20    from the Telescope Campaign Manager and what was

21    modified or changed by Ms. Sternberg or others?

22          A    I can't speak to what -- everything that

23    Ms. Steinberg [sic] -- Stenberg [sic] changed, but I

24    can't say that the yellow highlighting and note at the

25    bottom was not something that would have come




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 1    knowledge about the desired recipients for these

 2    campaigns, correct?

 3          A    I was not part of the CLM team during that

 4    time, nor had any involvement in the strategy or list

 5    generation for those campaigns.

 6          Q    And so, then, Mr. Fuentes, would you agree

 7    that you have no personal knowledge about the desired

 8    recipients of the May 22nd, 2014 text message

 9    campaigns?

10          A    I don't know anything about that.         No, I

11    don't know.

12          Q    And you also have no knowledge about who the

13    specific affected customers would be that were sent the

14    text messages on May 22nd of 2014, correct?

15          A    I was not part of that team or the strategy

16    development.    Never seen that information.

17          Q    And you have no idea, Mr. Fuentes, whether or

18    not, on May 22nd, 2014, Cricket was trying to send a

19    text message to all account owners, true?

20          A    I was not part of that team.        My role was

21    very different, and I had no involvement or knowledge

22    at the time of any messaging.

23          Q    Okay.    And just so the record is clear, if

24    you could, it's really more of a yes-or-no question.

25               Mr. Fuentes, you have no personal knowledge




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 1    about whether or not Cricket was trying to send a text

 2    message to all account owners on May 22nd of 2014,

 3    correct?

 4          A    I was -- I do not have any knowledge.          I was

 5    not part of that team.      That wasn't part of my role.

 6          Q    And, Mr. Fuentes, from the Telescope data

 7    that you exported in 2015 onto this spreadsheet, it's

 8    impossible to tell whether or not Cricket sent text

 9    messages to all account owners on May 22nd, 2014, true?

10          A    Can you -- can you clarify that one more --

11    or rephrase it?     I'm sorry.

12          Q    No problem.

13               Mr. Fuentes, from the information that you

14    exported from Telescope that's contained here in

15    Exhibit 130, it's impossible to tell whether or not

16    Cricket was trying to send text messages to all account

17    owners on May 22nd, 2014?

18          A    The information shown on this spreadsheet

19    shows the size of the lists that were uploaded to the

20    campaign tool manager to send out those messages.

21          Q    Okay.    And, Mr. Fuentes, without looking at

22    the lead list and comparing all of the Cricket mobile

23    device numbers to the total number of text messages

24    that were actually sent, it's impossible to know

25    whether or not Cricket sent text messages on May 22nd,




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 1    2014 to all account owners, correct?

 2          A     Yeah, I don't know.     I wasn't involved in

 3    that or part of that.      I don't know.     I don't know what

 4    criteria was used.

 5          Q     And reading this -- and reading this

 6    spreadsheet, sir, it's impossible to know, right?

 7          A     This spreadsheet only shows you the total

 8    amount of recipients that were uploaded -- the list

 9    size that were uploaded to the campaign tool.           That's

10    the only thing it shows.

11          Q     Do you -- have you heard the name

12    Jermaine Thomas before, Mr. Fuentes?

13          A     No, I don't -- no, I don't recall that name.

14          Q     Okay.   Did you -- in your role at Cricket,

15    did you ever work with Targetbase?

16          A     It sounds familiar.     The name sounds

17    familiar.    That's -- but I don't recall if I worked

18    with them or not, but it does sound familiar to me.

19          Q     Okay.   How about Pulse, have you heard of

20    Pulse?

21          A     No, I have not.

22          Q     Okay.   Have you ever personally accessed the

23    Targetbase database or heard of a Targetbase database?

24          A     I've heard -- the name Targetbase sounds

25    familiar, but I don't know other than it sounds




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 1    the Campaign Manager tool in 2015; is that right?

 2          A    Yes.

 3          Q    At that time, did you have any reason to

 4    think that data was not reflective of information that

 5    had been in the database since 2014?

 6          A    No.

 7          Q    And when you downloaded information from

 8    Campaign Manager in 2015, why did you do that?

 9          A    Because I -- my role was -- I was sending

10    messages out, you know, weekly, lots of messages, and

11    that's -- it was a great summary of all the campaigns

12    that I was sending and so was something that was useful

13    to me for record-keeping and was available as a tool so

14    I would know what was being sent out, and so I would

15    download it so at any time I could easily tell what

16    messages I had sent.

17               MS. ARMBRUST:     Okay, thank you,

18          Mr. Fuentes.

19                         FURTHER EXAMINATION

20    BY MR. HUDSON:

21          Q    Mr. Fuentes, I just have a couple of

22    follow-up questions.

23               Are you aware, sir, of any Cricket policy

24    that existed in 2014 for sending text messages to all

25    account owners?




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 1          A     I don't know.    I'm not aware.

 2          Q     Mr. Fuentes, are you aware of any Cricket

 3    procedures that existed in 2014 for sending text

 4    messages to large groups for all account owners?

 5          A     I don't know.    I wasn't part of that team.

 6          Q     So, Mr. Fuentes, when you wrote in your

 7    declaration that you're generally familiar about

 8    Cricket's policies and procedures for sending text

 9    messages to large groups for all account owners, we can

10    agree, sir, that that does not include any knowledge

11    about policies or procedures that existed in 2014,

12    true?

13          A     It reflects what policies and procedures I

14    followed when I was in the role starting January 1st,

15    2015.

16          Q     Okay.   And, Mr. Fuentes, you have no personal

17    knowledge and no knowledge of any kind about any

18    Cricket policies and procedures that existed in 2014,

19    correct?

20          A     I was not -- I don't know of any of those

21    policies.    I'm not aware.     I wasn't in a role to know

22    that.

23          Q     So if this case went to a trial, Mr. Fuentes,

24    you would be able to provide no testimony about any

25    Cricket policies or procedures that existed in 2014




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 1    relating to sending text messages to account owners,

 2    correct?

 3          A      I was -- I do not know any of that, of what

 4    those policies would have been at that time.

 5          Q      And the same for procedures as well, too,

 6    right?

 7          A      Yes.    Anything that had to do with sending

 8    messages to customers in 2014, I was unaware or part of

 9    that team.

10          Q      And you have no idea, Mr. Fuentes, why

11    Cricket decided to send text messages to customers on

12    May 22nd, 2014, right?

13          A      I don't know.    I wasn't -- I wasn't part of

14    that.     I was not aware until it was on -- seen on the

15    spreadsheet, but I was not part of that team, no.

16          Q      Okay.    And just looking at the spreadsheet,

17    Mr. Fuentes, that does not allow you to gain the

18    knowledge you would need to know to understand why

19    Cricket was sending text messages to customers on

20    May 22nd, 2014, correct?

21          A      Yeah, that workbook is just a summary of

22    campaigns that were sent out through the -- through the

23    Campaign Manager.

24          Q      And, Mr. Fuentes, the specific spreadsheet

25    that we looked at today in June of 2015, the one




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